
Mr. Aaron Thomas Johnson, Assistant Appellate Defender, For Malachi, Terance Germaine.
Mr. John R. Green, Jr., Special Deputy Attorney General, For State of North Carolina.
Ms. Constance E. Widenhouse, Assistant Appellate Defender, For Malachi, Terance Germaine.
Mr. Daniel P. O'Brien, Special Deputy Attorney General, For State of North Carolina.
Mr. R. Andrew Murray, District Attorney.
ORDER
Upon consideration of the petition filed by State of NC on the 4th of May 2017 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 1st of November 2017."
Upon consideration of the petition filed on the 23rd of May 2017 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 1st of November 2017."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
